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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                       COURT FILE NO.: CV-________________

Connie L. Lensegrav,

             Plaintiff,

vs.

Zwicker     and    Associates,    P.C.     a                COMPLAINT
professional corporation,

             Defendant.                             JURY TRIAL DEMANDED

                                   JURISDICTION

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

      § 1692k(d).

2.    This action arises out of the Defendant’s violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”).

3.    Venue is proper in this District because the acts and transactions occurred here,

      Plaintiff resides here, and Defendant transacts business here.

                                         PARTIES

4.    Plaintiff Connie L. Lensegrav (hereinafter “Lensegrav” or “Plaintiff”) is a natural

      person residing in the County of Hennepin, State of Minnesota, and is a

      “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

5.    Defendant Zwicker and Associates, P.C. (hereafter “Zwicker”), upon information

      and belief, is a foreign professional corporation that operates as a debt collection
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      agency from an address of 80 Minuteman Road, Andover, Massachusetts.

      Zwicker is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

                             FACTUAL ALLEGATIONS

6.    Plaintiff allegedly incurred a financial obligation with an Chase Manhattan Bank,

      who is a creditor as that term is defined by 15 U.S.C. § 1692a(4).

7.    The alleged obligation was primarily for personal, family or household purposes,

      which is an alleged “debt” as that term is defined by 15 U.S.C § 1692a(5), namely

      a consumer debt.

8.    Sometime on or before December 4, 2008, the alleged debt was consigned, placed

      or otherwise transferred to Defendant for collection from Plaintiff.

9.    Sometime on or about December 4, 2008, Ms. Valentine who was employed by

      Zwicker at all times relevant herein, contacted Plaintiff by telephone, by leaving a

      voicemail message, in an attempt to collect a debt, which was a communication in

      attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

10.   On or about December 4, 2008, Plaintiff returned Ms. Valentine’s telephone call.

11.   During this telephone call, Plaintiff identified herself, told Ms. Valentine that she

      was represented by an attorney and attempted to give Ms. Valentine her attorney’s

      telephone number.

12.   Ms. Valentine continuously interrupted Plaintiff and asked her if she was declaring

      bankruptcy.

13.   Plaintiff again attempted to give Ms. Valentine the name and number of her

      attorney.


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14.   Ms. Valentine then told Plaintiff that she was attempting to collect a debt on

      behalf of Chase Manhattan Bank.

15.   Plaintiff told Ms. Valentine that she should have received a letter from her

      attorney. Ms. Valentine responded by saying, “A letter doesn’t pay your bill.”

16.   At that point, Plaintiff ended the phone conversation.

17.   Sometime on or about December 8, 2008, Ms. Valentine contacted Plaintiff again

      by telephone, despite knowing that Plaintiff was represented by an attorney, in

      attempt to collect this debt, which was a communication in an attempt to collect a

      debt as that term is defined by 15 U.S.C. § 1692a(2).

18.   During this voicemail, Ms. Valentine left the following phone number: 1-800-370-

      2251 extension 5737.

                              Summary of FDCPA Violations

19.   Ms. Valentine violated the FDCPA when she contacted Plaintiff on December 8,

      2008, because she knew that Plaintiff was represented by an attorney. See 15

      U.S.C. § 1692c(a)(2).

20.   Ms. Valentine violated the FDCPA on December 4, 2008, because she engaged in

      conduct, the natural consequence of which was to harass, oppress, or abuse

      Plaintiff. See 15 U.S.C. § 1692d and § 1692d(2).

                              Respondeat Superior Liability

21.   The acts and omissions of Defendant’s employee who was employed as an agent

      by Defendant Zwicker, and who communicated with Plaintiff as more fully




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       described herein, were committed within the time and space limits of her agency

       relationship with her principal, Defendant Zwicker.

22.    The acts and omissions by Defendant’s employee were incidental to, or of the

       same general nature as, the responsibilities the agent was authorized to perform by

       Defendant Zwicker in collecting consumer debts.

23.    By committing these acts and omissions against Plaintiff, Defendant’s employee

       was motivated to benefit her principal, Defendant Zwicker.

24.    Defendant Zwicker is therefore liable to Plaintiff through the Doctrine of

       Respondeat Superior for the intentional and negligent acts, errors, and omissions

       done in violation of state and federal law by its collection employee(s), including

       but not limited to violations of the FDCPA and Minnesota law, in its attempts to

       collect this alleged debt from Plaintiff.

                                     TRIAL BY JURY

25.    Plaintiff is entitled to and hereby demands a trial by jury. US Const. Amend. 7.

       Fed. R. Civ. Pro. 38.

                                  CAUSES OF ACTION

                                         COUNT I

                        VIOLATIONS OF THE
      FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692 ET SEQ.

26.    Plaintiff incorporates by reference each and every above stated allegation as

       though fully stated herein.




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27.   The foregoing acts of the Defendant constitute distinct violations of the FDCPA

      against the Plaintiff herein, including but not limited to each and every one of the

      above cited provisions of the FDCPA, 15 U.S.C § 1692 et. seq.

28.   As a result of said violations, Plaintiff has suffered actual damages in the form of

      humiliation,    anger,   anxiety,   emotional    distress,   fear,   frustration,   and

      embarrassment, amongst other negative emotions, and therefore Plaintiff is

      entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1) of the FDCPA.

29.   As a result of said violations, Plaintiff has incurred out-of-pocket expenses, and

      therefore Plaintiff is entitled to actual damages pursuant to 15 U.S.C. §

      1692k(a)(1) of the FDCPA.

30.   As a result of said violations, Plaintiff is entitled to statutory damages of $1,000.00

      from Defendant, and for Plaintiff’s attorney fees and costs pursuant to 15 U.S.C. §

      1692k(a)(2)(A) and 15 U.S.C. § 1692k(a)(3).

                                PRAYER FOR RELIEF

             WHEREFORE, Plaintiff respectfully prays that this Court enter the

      following judgment, in Plaintiff’s favor:

                          COUNT I: FDCPA VIOLATIONS

         For declaratory and injunctive relief;

         For an award of statutory damages of $1,000.00 for the Plaintiff herein, for

         violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A), against

         Defendant;




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         For an award of costs and reasonable attorneys’ fees under the FDCPA

         pursuant to 15 U.S.C. § 1692k(a)(3), against Defendant, for Plaintiff herein;

         For an award of actual damages, costs and reasonable attorney fees pursuant to

         15 U.S.C. §1692k(a)(1) against Defendant herein in an amount to be determined

         at trial; and

                              SUCH OTHER RELIEF

         For such other and further relief as may be just and proper.

Dated: November 25, 2009.        MARSO AND MICHELSON, P.A.



                                 By:     s/Patrick L. Hayes
                                         Patrick L. Hayes
                                         Attorneys for Plaintiff
                                         Attorney I.D. No.:0389869
                                         3101 Irving Avenue South
                                         Minneapolis, Minnesota 55408
                                         Telephone: 612-821-4817


Dated: November 25, 2009.          MARSO AND MICHELSON, P.A.




                                   By:    s/William C. Michelson
                                          William C. Michelson
                                          Attorneys for Plaintiff
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